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EXHIBIT C
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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

In Re: Methyl Tertiary Buty] Ether (“MtBE") MDL No. 1358

Products Liability Litigation Master File C.A. No.
1:00-1898 (SAS)

This document relates to the following cases:

City of New York v. Amerada Hess Corp., et al.

04 Civ. 3417

2™ ERRATA TO FEBRUARY 6, 2008 EXPERT REPORT OF David B. Terry, P.G.
LEGGETTE, BRASHEARS & GRAHAM, INC.
6 Arrow Road
Ramsey, NJ 07446

1 / April 20, 2009
}

Cary

Signature Date

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Assessment of Future Potential MTBE Impact ~-4.
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The numerical code used to perform the MTBE transport modeling is MT3DMS version
4.5, a modular three-dimensional multispecies transport model for simulation of
advection, dispersion and chemical reactions of contaminants in groundwater systems,
developed at University of Alabama for U.S. Department of Defense. All numerical
transport modeling was performed in MT3DMS on the TMR model grid.

The numerical ground water flow and transport models used in this simulation were
processed within the Groundwater Vistas (GV) application environment. Information
needed to run simulations, including well locations and initial condition values, was
developed in ArcGIS 9.3 and imported to GV using shapefiles. The files necessary to run
MODFLOW 2000 and MT3DMS were then created by the GV software.

The modeling analyses performed for this assessment utilize a widely accepted,
mainstream approach to modeling the migration and fate of dissolved contaminants in an
unconsolidated-deposit aquifer system (Anderson, 1984, Cherry et al, 1984, Zheng and
Wang, 1999). This approach has been used in numerous studies of ground-water
contaminant transport on Long Island and elsewhere throughout the world.

3.0 Projection of Future MTBE Concentrations at Station 6

As described in Section 1.0, Water Supply Station 6 will be served by six existing
production wells identified as Wells 6, 6A, 6B, 6C, 6D and 33. These six wells are all
presently out of service, and are not currently being used as a source of water supply.
The Station 6 treatment plant is scheduled to begin active service in the year 2016. As
such, the primary objective of the present analysis is to project the concentration of
MTBE which would occur in water produced by the Station 6 wells in 2016 and beyond.

MTBE is known to be present in ground water the Upper Glacial Aquifer in the vicinity
of Station 6. The MTBE in the aquifer is derived primarily from releases of gasoline at
the ground surface or in the shallow subsurface, primarily at gasoline refueling stations.
As described in Section 1.0 of this report, the amount of MTBE present in gasoline in
New York has varied over time, and was at its highest between 1992 and 2004, when
Reformulated Gasoline (RFG) was in use in this area. The State of New York enacted a
‘ban’ on MTBE in gasoline effective as of January 1, 2004. After that date, gasoline is
required to have no more than 0.5% MTBE content by volume (NYS Dept Ag and
Markets, 2003). As a result of this pattern of MTBE use, discharges of gasoline which

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occurred between 1992 and 2004 produced the highest discharge rates of MTBE loading
to the subsurface and to ground water per unit of gasoline discharged.

Based on this information, the availability of information concerning ground water
quality in the Station 6 area, and the availability of information concerning gasoline
discharges in the Station 6 area, two analyses were developed to assess future MTBE
concentrations at Station 6, both using a ground-water contaminant transport modeling
approach. The first analysis (Analysis 1) used available ground-water quality information
for the Station 6 area between 2004, the year in which the MTBE ban became effective,
and 2008, the latest year for which water quality data was available. This information
was used to develop a ‘snapshot’ of water quality conditions with respect to MTBE in the
aquifer system at that time, and the model was then used to project the movement of
ground water and migration of MTBE to the Station 6 wells in the future. The second
analysis (Analysis 2) was based on the presence and location of known and reported
gasoline discharge locations in the estimated future capture zone of Station 6. The
migration of MTBE which is likely to have resulted from known discharge events at
these sites was simulated to determine the extent to which MTBE is likely to impact
future water quality conditions at Station 6. The implementation of these analyses is
described in Sections 3.1 and 3.2 of this report.

3.1 Analysis 1

Analysis 1 was performed using available ground-water quality information for the
Station 6 area as of the 2004 — 2008 period. The available data was used to develop a
‘snapshot’ of water quality conditions with respect to MTBE in the aquifer system in
2008. These data were then used as input conditions for the transport model, which is
then used to project the movement of ground water and migration of MTBE to the Station
6 wells in the future.

In order to develop information on the MTBE distribution in the aquifer system as of
2008, LBG reviewed available water quality information for sample locations within the
domain of the TMR model for the 2004 — 2008 period. The water quality data and the
sources of the data used for this analysis are presented in Table 2. Ground-water quality
data was available from New York City DEP files and other sources for water supply
well and monitor well locations in Queens and Kings County. Some of the monitor well
data in this area was derived from USGS water quality monitoring wells. In addition to
these locations, water quality data in the period of interest was also found for various
monitor wells installed at gasoline spill locations in the vicinity of Station 6.

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To develop a map of the 2008 conditions, a contour map was first compiled of 2004
water quality conditions (Figure 3). The contour map is intended to represent a
‘snapshot’ of water quality conditions in the aquifer system during 2004. In compiling
this map, ambient monitor well locations (such as DEP supply well locations and USGS
monitor well locations) were considered to be representative of a broad area surrounding
each well. Source data (such as monitor well data from gasoline discharge sites) were
considered to represent localized conditions in the immediate vicinity of the spill site.
Maximum concentration data for the period of interest were used from each spill site
location, and the area of each source contour was assessed for the associated MTBE
mass. The contour map compiled using this procedure was imported into the model and
was assigned as input values to corresponding model cells for use as initial MTBE
concentrations for a ground-water transport simulation for the 2004 — 2008 period.

The TMR model was then calibrated to determine appropriate transport parameters (such
as dispersivity) in the LBG model by comparing the observed MTBE concentrations in
some of the monitoring wells with simulated values. The calibration compared the 2004
and 2008 data sets. 2004 was considered an appropriate starting point for this process as
an MTBE ‘ban’ was established in New York State beginning in January 2004. As a
result, the primary bulk of MTBE mass resulting from gasoline spills to ground water
would have taken place in this area by January 2004. No biodegradation of MTBE was
assumed to occur during ground water transport. Yearly recharge (2004 to 2008) was
calculated based on precipitation data from John F. Kennedy International Airport, New
York. The recharge rates for 2004 to 2008 were based on the ratio of recharge to
precipitation in 1991 calibrated MPI flow model.

The annual average pumping rates from the production wells in the model domain from
2004 to 2008 was obtained from MPI and was used to simulate transient pumping
conditions during the calibration period (Table 3). A total of five (5) stress-periods were
simulated, each stress period comprised of 365-days. A sensitivity analysis was
performed by varying dispersivity values in the model. Sensitivity analysis was not
performed on the horizontal and vertical hydraulic conductivity, storage and porosity
parameters, as the flow model had already been calibrated by MPI. Dispersivity values
are scale-dependent, and longitudinal dispersivity increases with increasing transport
distance. The final dispersivity values (longitudinal, vertical, and transverse) obtained
from the calibration exercise are summarized below. These dispersivity values are within
the published ranges for similar aquifers (Gelhar and Rehfeldt, 1992; Schulze-Makuch,
2005).

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Using the estimated capture zone extent, a search was made of available file information
for records of known gasoline spills located within this area. Information regarding
known spills was provided in electronic form, including databases and scanned reports, to
LBG by MPI and the DEP. The data acquisition process for source location data is
described in Cohen, 2009. A listing was compiled of such sites for which the file
information indicated that significant releases of gasoline had occurred (Table 4). The
available file information for each site was reviewed to determine the number of reported
spills, and the date and volume of each spill. In many cases, the date and/or volume of
the spills was not known or not reported. For these cases, the spill date was
approximated in the analysis as being the same as the discovery or reporting date. Where
the spill volume was unknown, the volume was represented as a variable that was used to
conduct a sequence of potential discharge scenarios during this analysis.

Using this methodology, a total of 37 spills at 22 locations were identified as potentially
significant and to be included in the analysis. It should be noted that there are many
additional sites at which the file information indicated that discharges of gasoline also
likely occurred. However, insufficient information was available about these sites to
conclude that potentially significant discharges had occurred. As a result, these sites
were not included as MTBE sources in Analysis 2. The presence of additional sites in
which significant releases occurred would add additional MTBE mass to the ground-
water system which is not explicitly represented in the model. There is reason to suspect
that additional, unreported MTBE sources are present within the Station 6 capture zone,
based on the results of a recent study of nearby Nassau County, Long Island which found
the presence of MTBE ground water contamination exceeding 10 ppb at 53% of the ‘non-
discharge site’ gasoline stations tested (NYSDEC, 2008). As such, the omission of such
additional sites represents a conservative aspect of the approach in this analysis in terms
of potential MTBE impacts at Station 6.

Once the source locations to be included in Analysis 2 were identified, the estimated
loading of MTBE mass from spills at these sites to the ground water regime was
calculated. For sites with unknown spill volumes, three scenarios were considered:
gasoline spill volumes of 50 gallons, 500 gallons and 2,000 gallons, respectively. The
MTBE mass for these spill volumes was calculated based on the reported average
percentage of MTBE typically present in gasoline sold in New York State on the spill
date (as summarized in Table 1). The extent of the MTBE contaminant plumes in ground
water which could be expected to have formed in response to these spill scenarios was
established using the analytical transport model ATRANS (Neville, 2005). The
ATRANS model was used to determine the extent of the plume which would have

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purposes of this assessment. However, a range of degradation rates was evaluated in this
assessment for the more conservative release scenarios. The 50 gallon release scenario
was modeled utilizing a two-year degradation half life to provide the most conservative
combination of input assumptions.

A graph of the modeled concentrations of MTBE which are projected to’ be present in
water produced at Station 6 based on the assumptions and results of Analysis 2 are
summarized in Figure 8. The composite MTBE influent concentration is based on the
projected concentration of MTBE which would occur at each well supplying Station 6
weighted by the percentage of the total flow to the station which is derived from the
respective well. Influent concentrations were calculated in this manner for the combined
flow to Station 6 under conditions both with and without including the contributions from
Well 6C, to simulate the various operating conditions planned for Station 6. Individual
MTBE breakthrough curves for each Station 6 well as projected by Analysis 2C are
presented in Figure 9. The results of this analysis are further summarized in Section 3.3.

3.3 Summary of Projected Future MTBE Concentrations at Station 6

The results of the simulations performed in Analysis 1 and 2 both indicate that MTBE
will be present at the Station 6 wells at concentrations requiring treatment when pumping
of these wells is reactivated in 2016. After pumping at Station 6 is begun, MTBE
concentrations are expected to be highest in the initial eight to 10 years of operation, and
will then decrease over the remaining years of the assessment. The analyses both
indicate that MTBE will likely remain present in the Station 6 wells at concentrations
exceeding the 3 ppb treatment goal until at least 2040.

Analysis 1, which is based on the estimated distribution of known ground-water quality
conditions in the aquifer system in 2004, indicates that an MTBE concentration of about
20 ppb can be expected to occur when pumping is initiated at Station 6 in 2016. The
concentration at Station 6 will fluctuate somewhat with the initiation of pumping of
additional supply wells associated with the Water Supply Dependability project, and will
generally rise with continued pumping until peaking at about 35 ppb 2024 (Figure 6).
The concentration will then generally decline after 2024, reaching 21 ppb by 2040.

The three scenarios considered in Analysis 2 show projected concentrations which are
lower than those from Analysis 1 (Figure 8). For the 2,000 gallon release scenario
(Scenario C), the blended MTBE concentration is projected to peak in 2015 at a
concentration of 18 ppb and gradually decline until 2020 when pumping is initiated at
additional DEP supply wells under the Dependability program. The MTBE

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TABLE 1

MTBE CONTENT IN NEW YORK CITY AREA GASOLINE
VALUES FOR MASS ANALYSES IN THIS REPORT

MTBE
Year Content % Reference
1987 2.0 1,2
1988 2.0 1,2
1989 2.0 1,2
1990 2.0 1,2
1991 2.0 1,2
1992 11.90 3
1993 11.90 3
1994 11,90 3
1995 11.90 3
1996 11.90 3
1997 11.52 3
1998 11.63 3
1999 10.72 3
2000 10.00 3
2001 10.04 3
2002 9.67 3
2003 7.37 3
2004 0.16 3
2005 0.08 3
2006 0.03 3
2007 0.08 3

weight percent assumed equal to volume percent

1.U.S, Environmental Protection Agency, 1998
2. Moyer, 2003
3.U.S. Environmental Protection Agency, 2007
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TABLE 2

Analysis 1 2004 Conditions Input Data — Layer 1

 DataPointName —_Location/Address MTBE (ppb) Use Data Source
$6-028 138-68 94th Ave 2,700 Monitoring 5

$6-029 244 Linden Blvd 7 Monitoring 6
$6-025 | 117-07 Guy Brewer Blvd 230,000 _ ... Monitoring 7
$6-026 171-07 Baisley Blvd 494 Monitoring 8
$6-022 161-51 Baisley Blvd 328 Monitoring 9
$6-020 156-07 Rockaway Blvd 90.7 Monitoring 10
$6-016 177-90 S Conduit Ave 1 Monitoring 11
$6-015 162-35 N Conduit Ave 295 Monitoring 12
$6-005 113-21 Merrick Blvd 185 Monitoring 13
$6-004 113-40 Merrick Blvd 65,900 Monitoring 14
$6-023 148-27 Liberty Ave 1,400 Monitoring 15
$6-010 105-15 Merrick Blvd 2,800 Monitoring 16
$6-003 137-10 94th Ave 1,620 Monitoring 17
6-009 165-25 Liberty Ave 227 Monitoring 18
S6-024 107-17 178th St 0.7 Monitoring 19
Additional 2008 Input Data
$6-030 108-46 Merrick Blvd 230 Monitoring 20
$6-031 188-06 Hillside Ave 1,100 Monitoring 21

]. Malcolm Pirnie NYCDEP Database

2. USGS Data from NYCDEP Dependability Joint Venture Database

3. Toxics Targeting, File mpsc_072.pdf, pages 45 through 48

4. XOM-NYC-REM-020016

5. Toxics Targeting, File mpsc_120.pdf, pages 15 through 19

6. SUN-MDL-097202

7. Toxics Targeting, File mpsc_155.pdf, pages 12 through 17 (2005 value)

8. Toxics Targeting, File mpsc_156.pdf, pages 11 through 16

9. GPMI_REM 01145

10. GPMI-REM_ 03992

11. XOM-NYC-REM-009498

12. XOM-NYC-REM-043877

13. XOM-NYC-REM-029844

14. Toxics Targeting, File mpsc_139-pdf, pages 10 through 15

15. AH002857

16. Toxics Targeting, File mpsc_122-pdf, pages 13 through 16

17. BPCNY0004241

18. BPCITYNY0000305

19. “Recommendation for No Further Action”; Shaw Environmental, 7/21/05
20. American Analytical Laboratories, LLC. lab ID 0802254-01A
21. Lancaster Laboratories sample no. WW5407701
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Summary of Discharge Sources Used in Analysis 2

TABLE 4

2004 Gasoline (gal) MtBE. Mass (kg)
dist v head satThick unsatThick run run run MtBE run run run
sitelD. ~ year address (m) _ (n/yr) (mm) (m) (m) 1 2 3 % 1 2 3
$6-001. 1994 138-50 Hillside Ave 531 53,15 5.35 29.21 12.66 150 150 150 11,90 49.18 49.18 49.18
s6-001 1998 309 51.59 50 500 2000 11.63 16.02 160.20 640.81
s6-001 . 2001 151 $0.53 50 500 2000 10.04 13:83 138.30
79.03 347,68
$6-002)°:1989: 84-02 Parsons Blvd 310 20.70 5.64 20.45 35.14 30 30 30. 2:00 1.65 1.65
$6-002. 1990 282 20.18 50 ©6500 2000°. 2.00 2:76 . 27.55
aati 29200 Le
86-003 1997 137-10 94th Ave 478 68.32 5.03 32.44 8.93 50 500 2000 11.52 15.87 158.69 634.75
86-005 2000 113-21 Merrick Blvd 177 44.40 5.25 23.54 2,29 50 ©6500 «= 2000) Ss 10.00 )Ss:113.78 9137.75 = 551.00
s6-005 2001 130 43.49 50 ©6500 §«=6-2000)=—:10.04 = 13.83
27.6)
86-006 1998 144-10 Hillside Ave 314 $2.36 5.43 21.87 12,30 50 500 2000 11.63 16.02 160.2 640.81
36-007 1989 93-05 168th St 360 24.00 5,57 19,83 11,32 50 500 2000 8 2.00 2.76 27.55 110.20
86-008 1991 93-59 183rd St 774 59.60 5,32 24.21 8.60 10 10 10 2.00 0.55 0,55 0.55
86-008 1992 684 57.06 20 20 20 11.90 6.56 6.56 6.56
86-008 1993 612 55.64 15 15 15 11.90 4.92 4.92 4.92
s6-008 1994 547 54.70 10 10 10 11.90 3,28 3.28 3.28
15.30 18.36
s6-009 2000 165-25 Liberty Ave 84 20.91 5.50 25,05, 6.77 50 500 2000 10.00 13.78 137.75 551.00
s6-010 1996 105-15 Merrick Blvd 108 13.47 5.49 25.74 5.43 50 500 2000 11.90 16.39 163.92 655.69
s6-011 1999 109-67 Sutphin Blvd 348 69.61 4.97 29.81 4.51 50 500 2000 10.72 14.77 147.67 590.67
86-012 1997 131-07 Merrick Blvd 263 37,59 433 19.73 3,56 50 500 2000 11.52 15.87 158.69 634.75
s6-012 2000 155 38.74 50 500 2000 10.00 13.78 137.75 551.00
86-013 1998 133-02 Jamaica Ave 381 63.61 5.20 32.14 12.96 50 500 2000 11.63 16.02 160.
86-014 1994 116-60 Sutphin Blvd 1,055 105.52 4,19 2.89 2.19 50 ©6500 2000 11.90 16.39 163.92 655.69
86-015 1990 162-35 N. Conduit Ave 767 54.75 1.86 32.64 3.66 50 500 2000 2.00 27,55 110.20
86-015 2002 318 158.84 50 500 2000 9.67 133.20
s6-016 1988 177-90 §. Conduit Ave 1,724 107.74 3.19 19,83 1.99 50 500 2000 2.00
86-016 1993 1,296 117.84 50 500 2000 11.90
s6-017 1997 108-01 Atlantic Ave 745 106.36 4.18 30.28 9.96 50 500 2000 = 11.52
s6-018 2004 154-10 Rockaway Blvd 0 0.00 1.91 25.84 1.13 50 500 2000 0.16 0.22 2.20 8.82
36-019 1993 148-12 Rockaway Blvd 1,278 116.20 3.23 31.18 2.90 50 ©6500 2000 = 11.90 163.92
86-019 1996 971 121.38 50 500 2000 11.90 163.92
327.85
86-020 1997 156-07 Rockaway Blvd 673 96.09 2.35 24.91 1.49 50 500 2000 11.52 158.69
s6-021 1987 104-09 Atlantic Ave 1,714 100.84 4.92 32.87 10.62 50 500 2000 2.00 27.55
s6-021 1995 792 88.02 50 500 2000 11.90 163.92
s6-021 1999 388 77.67 50 500 2000 10.72 147,67
339,34
s6-022 1991 161-51 Baisley Blvd 1,505 115.76 4.09 26.62 1,73 50 500 2000 2.00
86-022 1992 1,414 117.85 50 ©6500 )3=2000-~—Ss 11.90 163.92
86-022 1998 688 114.68 50 500 2000 11.63 160.20
38168
86-023 1996 148-27 Liberty Ave 424 53.00 5.23 28.27 5.50 50 500 2000 11.90 163,92

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SNOLLVOOT TTHM INVGNGAIA — STHdS GYTACOW WOU VLIVa

TABLE 5
